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                  Exhibit A
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                                                                   Transcript of Sameh Elrahimy
                                                                                           Date: January 29, 2024
                                                                               Case: Go Pro Construction, LLC -v- Ipasumi




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                                                                                                                              Transcript of Sameh Elrahimy                                                 1 (1 to 4)

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                                                                                                                             Conducted on January 29, 2024
                                                                                                                                      1                                                                                 3

                                                                   1            IN THE UNITED STATES DISTRICT COURT                        1               A P P E A R A N C E S
                                                                   2                FOR THE DISTRICT OF COLUMBIA                           2    ON BEHALF OF THE PLAINTIFF:
                                                                   3    ------------------------------x                                    3         RODERICK BARNES, ESQUIRE
                                                                   4    GO PRO CONSTRUCTION, LLC,            :                             4         BARNES LAW, PA
                                                                   5                            Plaintiff,   :                             5         417 Dumbarton Road
                                                                   6       v.                                : Civil Action No.:           6         Baltimore, Maryland 21202
                                                                   7    VALSTS NEKUSTAMIE IPASUMI,           : 1-22-CV-01643-RCL           7         (410)615-1911
                                                                   8                            Defendant.   :                             8
                                                                   9    ------------------------------x                                    9    ON BEHALF OF THE DEFENDANT:
                                                                   10                Deposition of SAMEH ELRAHIMY                          10        ZACHARY S. GILREATH, ESQUIRE
                                                                   11                         Conducted Virtually                          11        BAKER, DONELSON, BEARMAN,
                                                                   12                   Monday, January 29, 2024                           12        CALDWELL & BERKOWITZ, PC
                                                                   13                            2:31 p.m. EST                             13        100 Light Street
                                                                   14                                                                      14        Suite 1900
                                                                   15                                                                      15        Baltimore, Maryland 21202
                                                                   16                                                                      16        (410)685-1120
                                                                   17                                                                      17
                                                                   18                                                                      18
                                                                   19                                                                      19
                                                                   20 Job No.:       523435                                                20
                                                                   21 Pages:       1 - 94                                                  21
                                                                   22 Reported by:          Stephanie L. Hummon, RPR                       22




                                                                                                                                      2                                                                                 4

                                                                   1            Deposition of SAMEH ELRAHIMY, conducted                    1                         C O N T E N T S
                                                                   2    virtually.                                                         2    EXAMINATION OF SAMEH ELRAHIMY                     PAGE
                                                                   3                                                                       3         By Mr. Gilreath                                   5
                                                                   4                                                                       4         By Mr. Barnes                                 83
                                                                   5                                                                       5         By Mr. Gilreath                               88
                                                                   6                                                                       6         By Mr. Barnes                                 94
                                                                   7                                                                       7                   E X H I B I T S
                                                                   8                                                                       8               (Retained by counsel)
                                                                   9                                                                       9    GO PRO DEPOSITION EXHIBITS
                                                                   10                                                                      10 Exhibit 34     Optimum Construction, Inc.            20
                                                                   11                                                                      11                records, 152 pages
                                                                   12                                                                      12 Exhibit 35     Latvian Embassy Limited Scope         11
                                                                   13                                                                      13                of Work (According with the Contract)
                                                                   14                                                                      14 Exhibit 36     Spreadsheet - Letvian Embassy -       15
                                                                   15                                                                      15                General Scope of Work Per Plans
                                                                   16           Pursuant to Notice, before                                 16 Exhibit 39     Plaintiff's Supplemental Answers      75
                                                                   17 Stephanie L. Hummon, Registered Professional                         17                to Interrogatories
                                                                   18 Reporter and Notary Public of the State of                           18
                                                                   19 Maryland.                                                            19 P R E V I O U S L Y       M A R K E D    E X H I B I T
                                                                   20                                                                      20    Exhibit 15 Work Progress Report #4                88
                                                                   21                                                                      21
                                                                   22                                                                      22




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                                                                                                          Transcript of Sameh Elrahimy                              2 (5 to 8)

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                                                                                                                     5                                                           7
                                                                   1          P ROCEEDINGS                                1         Do you have any questions for me before
                                                                   2 Whereupon,                                           2 we get started?
                                                                   3             SAMEH ELRAHIMY,                          3     A. No.
                                                                   4 being first duly sworn or affirmed to testify to     4     Q. Okay. Mr. Elrahimy, did you review the
                                                                   5 the truth, the whole truth, and nothing but the      5 court's August 21, 2023, court order, in regards to
                                                                   6 truth, was examined and testified as follows:        6 VNI's motion to compel?
                                                                   7     EXAMINATION BY COUNSEL FOR THE DEFENDANT 7             A. Yes.
                                                                   8 BY MR. GILREATH:                                     8     Q. And you understood from that court order,
                                                                   9     Q. Mr. Elrahimy, nice to meet you again.         9 that Go Pro was to conduct an additional search for
                                                                   10       Before we get started, could you state        10 documents responsive to VNI's Document Request 18,
                                                                   11 your name   for the record, please.                 11 23, 24, 25, 26, 27, and 30; is that correct?
                                                                   12 A. Yes. Sameh Elrahimy.                             12 A. Yes.
                                                                   13 Q. So I've already introduced myself to you         13 Q. And has Go Pro completed that additional
                                                                   14 in person. My name's Zach Gilreath and I am         14 search as required by the court?
                                                                   15 counsel for the defendant/counter-plaintiff in this 15 A. Yes.
                                                                   16 matter, Valsts  Nekustamie   Ipasumi, I'll refer to 16 Q. And who participated in that additional
                                                                   17 them as VNI.                                        17 search?
                                                                   18       You were previously deposed on July 26,       18 A. Me and Cindy Conley, my assistant.
                                                                   19 2023, as a corporate designee for Go Pro            19 Q. Cindy Conley's your assistant and an
                                                                   20 Construction; is that correct?                      20 employee of Go Pro?
                                                                   21    A.  Yes.                                         21 A. Yes.
                                                                   22 Q. But you understand that you are here             22 Q. Do you recall when the additional search
                                                                                                                     6                                                           8
                                                                   1 today to testify in regard to Go Pro's additional     1 took place?
                                                                   2 search efforts for responsive documents as set        2      A. I don't.
                                                                   3 forth in the court's August 21, 2023, court order;    3      Q. Did it take place over a series of days
                                                                   4 is that correct?                                      4 or was it one day in particular?
                                                                   5      A. Yes.                                          5      A. I would say two days, about a couple
                                                                   6      Q. Before we begin, I'm just going to go         6 weeks ago, or maybe a week ago.
                                                                   7 through the ground rules that we went through the     7      Q. And based on your review of Go Pro's
                                                                   8 first time.                                           8 documents, do you now believe that Go Pro has
                                                                   9         I'm going to ask a question, please allow     9 conducted a thorough and complete search of all
                                                                   10 me to finish my question before answering. I'll do   10 documents in its possession, custody, or control
                                                                   11 my best not to talk over you, you do your best not   11 responsive to the documents identified in the
                                                                   12 to talk over me. It will make the court reporter's   12 court's August 21st order?
                                                                   13 job a lot easier.                                    13 A. Yes.
                                                                   14        Though I can see you today, everyone can      14 Q. I'm going to try not to reiterate things
                                                                   15 see you, try to avoid nonverbal responses. If you    15 that we've previously talked about in your previous
                                                                   16 could state, yes, no, I don't know verbally, it      16 deposition. I'm going to focus predominantly on
                                                                   17 will be much appreciated.                            17 the documents -- the additional documents that have
                                                                   18        If, at any point in time, you don't           18 been produced in the search that took place after
                                                                   19 understand one of my questions, would like me to     19 August 21st.
                                                                   20 rephrase, please let me know and I'll do so. If      20        The court order, as I previously stated,
                                                                   21 you do answer a question, however, it will be        21 stated that one of the requests for which Go Pro
                                                                   22 understood that you understood the question.         22 was to conduct an additional search was Request
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                                                                                                                       9                                                         11
                                                                   1 Number 18. Request Number 18 requested all              1 estimate, takeoff, bid worksheet, or pricing
                                                                   2 internal cost estimates, takeoffs, bid worksheets,      2 documents, as it relates to the Latvian Embassy?
                                                                   3 bid summaries, bid papers, and pricing documents        3      A. Yes.
                                                                   4 prepared by or for Go Pro concerning the project.       4      Q. And did he tell you if he had anything in
                                                                   5         And if you want me to pull up our               5 his possession?
                                                                   6  document   request, so you can see it and read it, I   6      A. Everything that he also had was saved in
                                                                   7 can do that. Just for the sake of avoiding              7 our Google Drive and that's -- I submitted whatever
                                                                   8 exhibits as much as possible, I wasn't going to put     8 I had in that Google Drive, we submitted that
                                                                   9 it on the screen, but if it would assist you, I can     9 paperwork.
                                                                   10 do that.                                               10     Q. So as of today, to the best of your
                                                                   11        But for Request Number 18, the cost             11 knowledge, there is no cost estimate, takeoff, bid
                                                                   12 estimates, the takeoffs, what additional documents     12 worksheet, or pricing document that you found that
                                                                   13 did you identify in your search after August 21st      13 was prepared prior to execution of the contract?
                                                                   14 that were responsive to the request, if any?           14     A. Other than what I submitted, I don't have
                                                                   15 A. I don't think there were any additional             15 anything else.
                                                                   16 documents.                                             16     Q. So you say, other than you submitted. I
                                                                   17 Q. Can you detail your efforts to try to               17 haven't seen anything as it relates to an estimate,
                                                                   18 find documents that were responsive to Request         18 a takeoff worksheet from prior to the contract.
                                                                   19 Number 18 is. Did that include searching through       19         MR. GILREATH: Now, I can show you -- I'm
                                                                   20 an online file? Hard copies of paperwork? What         20 showing you what will be marked as Go Pro 35.
                                                                   21 exactly did your search or Ms. Conley's search         21         (Go Pro Exhibit 35 was marked for
                                                                   22 entail?                                                22 identification and was retained by counsel.)
                                                                                                                       10                                                        12
                                                                   1      A. Yeah. So we've done search for all the          1           MR. GILREATH: Madam Reporter, we used 30
                                                                   2 documents that we have in our possession that are       2 exhibits during the initial deposition, so I'm
                                                                   3 saved in our folders, drive, e-mail, receipts, and      3 going to try to stay in line with the previous
                                                                   4 submitted all that we have.                             4 marking of exhibits, continue forth with those.
                                                                   5      Q. And when you say, you've searched like          5       Q. Mr. Elrahimy, can you see what will be
                                                                   6 your -- any information of documentation on your        6 marked as Go Pro Number 35?
                                                                   7 computer, how did you conduct that search? Did you      7       A. Yes.
                                                                   8 go into individual files and look through               8       Q. It's titled, Latvian Embassy Limited
                                                                   9 everything? Did you conduct a search using search       9 Scope of Work (According with the Contract)?
                                                                   10 terms? How did that search take place?                 10      A. Yes.
                                                                   11     A. Yeah. I searched through e-mail, with           11      Q. This is a document that was produced
                                                                   12 any name regarding to the Latvian Embassy or the       12 subsequent to the court's August 21, 2023 order.
                                                                   13 parties involved. I've searched through our Google     13 Do you recall when this document was prepared?
                                                                   14 Drive folder for any and all documents that we         14      A. I don't.
                                                                   15 have, and submitted everything that I have.            15      Q. It's my understanding and discussions
                                                                   16     Q. During your previous deposition, you            16 with counsel that this was prepared during
                                                                   17 testified that your father, Raouf Elrahimy, was        17 litigation; is that correct?
                                                                   18 involved in the bid process and the contract           18      A. I don't recall when it was prepared.
                                                                   19 negotiation and execution; is that correct?            19      Q. So you couldn't say, one way or another,
                                                                   20     A. Yes.                                            20 whether    or not this was prepared before or after Go
                                                                   21     Q. Did you speak with your father regarding        21 Pro filed a lawsuit?
                                                                   22 whether he had prepared any sort of internal cost      22      A. I wouldn't be able to.
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                                                                                                                     13                                                       15
                                                                   1      Q. Do you recall where you found this          1 same. One's a six-page document, one's a
                                                                   2 document during your search?                        2 three-page document. We'll provide that to you,
                                                                   3      A. This was on Google Drive.                   3 but like I said to you, I think it was prepared, at
                                                                   4      Q. And does the Google Drive that you          4 some point, after the document production was sent
                                                                   5 reviewed provide date and time information of when  5 to us originally. Yeah. I'm not sure this witness
                                                                   6 a document was either created or uploaded?          6 actually prepared it, but --
                                                                   7      A. So any -- I'm not sure. I'd have to go      7         (Go Pro Exhibit 36 was marked for
                                                                   8 back and check. So, typically, any folder that is   8 identification and was retained by counsel.)
                                                                   9 saved, it would have a date and time, but also when 9 BY MR. GILREATH:
                                                                   10 you open that folder, it renews the date as if the 10 Q. Mr. Elrahimy, do you know who prepared
                                                                   11 document is saved that same date. So if I have     11 this document?
                                                                   12 something saved from a year ago and I go in and I 12 A. Mr. Raouf.
                                                                   13 open it today, then it would renew the date to     13 Q. You said Raouf.
                                                                   14 today's date.                                      14 A. Yeah, Mr. Raouf, my father.
                                                                   15 Q. So, typically, software services like           15 Q. And so if I have questions about this,
                                                                   16 Google  Drive will provide metadata   which will   16 would they he better directed towards your father?
                                                                   17 provide not only the last date it was modified,    17 A. Yes.
                                                                   18 which is what you're explaining, but also when     18 Q. Do you have any information regarding the
                                                                   19 something was initially uploaded. Have you         19 information that went in to preparing this
                                                                   20 reviewed the metadata for this document on the     20 document?
                                                                   21 Google  Drive?                                     21 A. Could you --
                                                                   22 A. I did not.                                      22 Q. Did you assist your father in any way in
                                                                                                                     14                                                       16
                                                                   1      Q. Do you know if Ms. Conley had reviewed        1 preparing this document?
                                                                   2 the metadata for this document?                       2      A. Yes, I worked with him on it.
                                                                   3      A. I don't believe she did.                      3      Q. Can you explain how you worked with him.
                                                                   4          MR. BARNES: Counsel, this is Barnes.         4      A. Just the format and the Excel sheet
                                                                   5 You accurately stated what I represented to you       5 format.
                                                                   6 about this document, and that's to the best of my     6      Q. But as far as the information that's
                                                                   7 understanding also. If you want us to go back and     7  included in the spreadsheet, that was information
                                                                   8 look at metadata, I think it will confirm what I      8 that you did not participate in providing?
                                                                   9 told you. I don't know if this witness knows how      9      A. I did not provide it, he provided it, but
                                                                   10 to do that, but we certainly can make it available   10 I did participate in the preparation of the
                                                                   11 to you in native format, if you want to do that,     11 document.
                                                                   12 just to check.                                       12 Q. And then as far as Go Pro Number 36, the
                                                                   13         MR. GILREATH: I would request the            13 Latvian Embassy General Scope of Work Per Plans,
                                                                   14 metadata for both this and what I'll be marking as   14 was this document also prepared by your father?
                                                                   15 Exhibit, I believe it will be 35.                    15 A. Yes, I believe so.
                                                                   16         MR. BARNES: That one was 35.                 16 Q. And other than formatting and assisting
                                                                   17         MR. GILREATH: 36 then. Can you see           17 him with the Excel program, did you provide any of
                                                                   18 this, a new document?                                18 the substantive information provided in this
                                                                   19         MR. BARNES: Yep.                             19 document?
                                                                   20         MR. GILREATH: So I'll be marking this as     20 A. Sorry, say that again.
                                                                   21 36.                                                  21 Q. I said, other than helping him with
                                                                   22         MR. BARNES: That's fine. We'll do the        22 formatting and the Excel program itself, did you
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                                                                                                          Transcript of Sameh Elrahimy                              5 (17 to 20)

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                                                                                                                     17                                                       19
                                                                   1 provide him with any of the information included in  1      Q. I understand that. I'm asking you the
                                                                   2 this document?                                       2 process to identify documents. I've got what you
                                                                   3      A. No. He provided the cost amounts and the     3 produced. I'm just trying to get a better
                                                                   4 dollar numbers, but I mean, I've seen the document. 4 understanding of what you did to find things.
                                                                   5 I've reviewed it with him.                           5      A. Just, yeah, I mean, that's everything we
                                                                   6      Q.   You've   previously spoken  about  having  6  have  is in our Google Drive, and I submitted
                                                                   7 conversation with your father about what             7 every -- I guess I'm not -- maybe I'm not
                                                                   8 documentation he had in his possession and you       8 understanding your question correctly.
                                                                   9 stated that everything he had, Go Pro had on its     9      Q. So during your deposition, you testified
                                                                   10 own system; is that correct?                        10 that Go Pro maintained a bank account with Capital
                                                                   11     A. Yes. He had some receipts and some other     11 One, I believe; is that correct?
                                                                   12 items, paper, he brought into the office, we        12 A. Yes.
                                                                   13 scanned them, saved them to the Drive and submitted 13 Q. And during your deposition, you had
                                                                   14 them to you guys with all the documents that was    14 stated that some payment would be made from that
                                                                   15 part of the documents we submitted.                 15 Capital One account for supplies, materials,
                                                                   16     Q. Do you have any information about whether    16 payroll, other various costs associated with Go
                                                                   17 or not your father had any documentation that no    17 Pro's works, not specifically the Latvian Embassy,
                                                                   18 longer exists, either through accidentally being    18 but Go Pro's work, construction work in general; is
                                                                   19 deleted, thrown way, any documentation that existed 19 that correct?
                                                                   20 at the time of the project that no longer is in     20 A. Yes.
                                                                   21 either Go Pro's possession or Mr. Raouf's           21 Q. Did you, during your search, review Go
                                                                   22 possession?                                         22 Pro's bank statements from the time the Latvian
                                                                                                                     18                                                       20
                                                                   1      A. I don't know.                                  1 Embassy project was ongoing to assess whether or
                                                                   2      Q. Court order also directed Go Pro to            2 not any costs were incurred by Go Pro as it related
                                                                   3 conduct an additional search as it relates to          3 to the Latvian project?
                                                                   4 documents responsive to VNI Request Number 23. VNI     4      A. I don't recall I've done that.
                                                                   5 Request Number 23 sought documents that, quote,        5         MR. GILREATH: Okay. In Go Pro's
                                                                   6 constitute, refer, or relate or pertain to actual      6 supplemental production it produced what I'm going
                                                                   7 costs incurred by you in connection with the           7 to mark as Go Pro Number 34.
                                                                   8 project, including, but not limited to, a detailed     8         (Go Pro Exhibit 34 was marked for
                                                                   9 job cost report for the project and a journal          9 identification and was retained by counsel.)
                                                                   10 ledger for individual costs.                          10 Q. Can you see Go Pro Number 34, titled,
                                                                   11         I have reviewed the supplemental document     11 Optimum Construction, Inc. that I'm showing you?
                                                                   12 production produced by Go Pro, and I have not         12 A. Yes.
                                                                   13 identified either a job cost report for the project   13 Q. So this is a 152-page document that was
                                                                   14 or a journal ledger for individual costs.             14 produced by your counsel subsequent to the
                                                                   15         Were you able to locate either of those       15 August 21st, 2023, court order. It seems to me
                                                                   16 types of documents?                                   16 that the first set of documents is payroll for
                                                                   17     A. No.                                            17 Optimum Construction; is that correct? Pages 1
                                                                   18     Q. Can you detail your efforts to locate          18 through 5, the first five pages of this document
                                                                   19 documents relating to actual costs incurred by Go     19 set.
                                                                   20 Pro.                                                  20 A. Yes.
                                                                   21     A. Yeah. At this point, I believe I               21 Q. And Optimum Construction, Inc. is a
                                                                   22 submitted everything that I have.                     22 company that is owned and operated by your brother;
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                                                                                                                     21                                                      23
                                                                   1 is that correct?                                       1      A. I don't.
                                                                   2      A. Yes.                                           2      Q. Do you recall how that payment was made?
                                                                   3      Q. In looking at these documents, the             3      A. I want to say it was online transfer, but
                                                                   4 Optimum records specifically, are these -- is this     4 I would have to confirm.
                                                                   5 payroll information relating specifically to the       5      Q. Would that payment be -- would that
                                                                   6 Latvian Embassy project?                               6 payment show on Go Pro's bank account statements?
                                                                   7      A. I wouldn't say specifically to the             7      A. Yes.
                                                                   8 Latvian Embassy project. It would be a mixture of.     8      Q. A little bit farther down this set of
                                                                   9      Q. So this includes employees that were           9 documents, Go Pro Number 34, is a set of documents
                                                                   10 involved in the Latvian Embassy project, but in       10 beginning Bates number Plaintiff's Document
                                                                   11 terms of the payroll information provided, it may     11 Production 267. It looks like it's TimeStation
                                                                   12 include employees who worked on the Latvian Embassy   12 entries --
                                                                   13 project, but also other projects at the time?         13 A. Yes.
                                                                   14     A. Yes.                                           14 Q. -- document.
                                                                   15     Q. So this wouldn't give us a complete and        15         Are these payroll -- are these time
                                                                   16 accurate look at what time specifically was spent     16 entries for Go Pro employees or Optimum employees?
                                                                   17 by Optimum Construction employees on the Latvian      17 A. Could you scroll down a little bit more.
                                                                   18 Embassy project specifically?                         18 Yeah, just until we get to other names.
                                                                   19     A. Is that a question to me or --                 19         Yes, these would be Go Pro.
                                                                   20     Q. Yes. I'm asking you to confirm that, if        20 Q. So I scrolled down a little bit. The
                                                                   21 I were trying to assess how much time, hours, were    21 first few pages have names and then in parentheses,
                                                                   22 spent by Optimum Construction employees on the        22 Superior Contracting. What is Superior
                                                                                                                     22                                                      24
                                                                   1 Latvian Embassy project, I wouldn't be able to        1 Contracting?
                                                                   2  assess  that information from this document?         2      A. This is just how we label them, who they
                                                                   3      A. Correct.                                      3 work -- they work under. It's one of our
                                                                   4      Q. So this document includes payroll             4 subcontractors.
                                                                   5 information and gross totals and direct deposit       5      Q. Was Superior Contracting a subcontractor
                                                                   6 information for these employees. Were these           6 for the Latvian Embassy project?
                                                                   7  employees    paid by Optimum   Construction or by Go 7      A. So they -- they are not a subcontractor.
                                                                   8 Pro?                                                  8 They work directly for Go Pro, but they are labeled
                                                                   9      A. Optimum.                                      9 as a subcontractor, yes, and they were part of the
                                                                   10 Q. Did Go Pro ever reimburse or issue                10 Latvian Embassy work.
                                                                   11 payment to Optimum for use of its employees on the 11 Q. So the individuals who are identified
                                                                   12 Latvian Embassy project?                             12 with Superior Contracting next to their time
                                                                   13 A. I believe that the main -- the main               13 entries, was their time paid directly by Go Pro or
                                                                   14 payment came from -- to Latvian Embassy came in 14 was it paid by Superior Contracting?
                                                                   15 to -- to Go Pro, then it was given to Mr. Raouf,     15     A. Their time was paid from Go Pro to
                                                                   16 and Mr. Raouf paid for -- either paid Optimum or 16 Superior Contracting, then Superior Contracting
                                                                   17 paid directly to cover these costs for employees.    17 paid them, but they are still employees that clock
                                                                   18 Q. So Go Pro issued a payment to                     18 in and out on daily basis for us to keep track of
                                                                   19 Raouf Elrahimy?                                      19 their hours.
                                                                   20     A.   Correct.                                    20     Q. But as far as the payments from Go Pro to
                                                                   21 Q. Do you recall what total amount was paid          21 Superior Contracting, would those payments also be
                                                                   22 to Raouf   Elrahimy?                                 22 reflected in Go Pro's bank account statements?
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                                                                                                                      25                                                         27
                                                                   1      A. Yes.                                           1 combined?
                                                                   2         MR. BARNES: You mean specifically for          2      A. Everything combined.
                                                                   3 this project or in general?                            3      Q. And likewise, for the individuals that
                                                                   4      A. I'm sorry? In general.                         4 are identified without Superior Contracting, for
                                                                   5         MR. BARNES: I'm asking Mr. Gilreath this       5 example, Angel Reyes Villegas, are these
                                                                   6 question, because it was vague enough. I'm not         6 specifically Go Pro employees?
                                                                   7 sure that these are all tied to this project, so --    7      A. Yes.
                                                                   8         MR. GILREATH: I'll clarify that for the        8      Q. And was their time kept as it
                                                                   9 record.                                                9 specifically related to a project, or was it also
                                                                   10        MR. BARNES: Yeah, I don't want you to          10 bundled together and could have included work on
                                                                   11 leave with  a false impression.                       11 numerous projects on a given day?
                                                                   12 BY MR. GILREATH:                                      12 A. Correct, they could have included
                                                                   13 Q. So we talked about the Optimum records             13 different projects.
                                                                   14 and how, while those employees were involved in the   14 Q. Did Go Pro maintain any sort of
                                                                   15 Latvian Embassy project, the time entries may not     15 accounting to determine how much labor, in terms of
                                                                   16 necessarily reflect the specific amount of time       16 man-hours was spent on the Latvian Embassy project?
                                                                   17 spent on the Latvian Embassy, it could have           17 A. No, I haven't done -- done that.
                                                                   18 included other projects. Are the records              18 Q. So a little down, Go Pro Exhibit 34,
                                                                   19 maintained here by Go Pro similar in nature in the    19 Bates Number Plaintiff's Document Production 383,
                                                                   20 fact that, for example, Alejandro entered 8 hours     20 this looks like a customer receipt issued by
                                                                   21 of time on November 11th, 2021, it's possible he      21 Home Depot; is that correct?
                                                                   22 spent some amount of time at Latvian Embassy          22 A. Yes.
                                                                                                                      26                                                         28
                                                                   1 project and other time at another Go Pro project?      1      Q. It states that the customer information
                                                                   2     A. Correct.                                        2  is Cindy  Elrahimy, Go Pro Construction. Am I
                                                                   3     Q. So it's -- you cannot ascertain from this       3 correct in my assumption that this was
                                                                   4 document what amount of time specifically was spent    4 Cindy Conley?
                                                                   5 on the Latvian Embassy project?                        5      A. Correct.
                                                                   6     A. I could, but it will take us some time to       6      Q. And is it Go Pro's position that this is
                                                                   7  prepare  that.                                        7  a  customer  receipt as it relates to materials used
                                                                   8     Q. When you paid Superior Contracting for          8 on the Latvian Embassy project?
                                                                   9 these employees' times, was payment made to            9      A. Yes.
                                                                   10 Superior Contracting per project, or was it a         10 Q. So this states that there was an order
                                                                   11 monthly invoice generated by Superior Contracting?    11 total, 228.72, that was charged to American
                                                                   12 How did Superior Contracting invoice you for time     12 Express, 3086. Is that American Express card a
                                                                   13 spent by the --                                       13 Go Pro account or was that Cindy Conley's
                                                                   14 A. So they don't invoice us. They clock in            14 individual bank account?
                                                                   15 daily, and every two weeks, they get a paycheck.      15 A. It's the Go Pro company card.
                                                                   16 But instead of the paycheck coming out to every       16 Q. So in addition to the Capital One bank
                                                                   17 individual person, we found it easier to have the     17 account that you previously testified Go Pro used
                                                                   18 foreman have his own company, Superior Contracting,   18 to issue payments, they also maintained an
                                                                   19 and all the labor would be under him.                 19 American Express credit card to make payments for
                                                                   20 Q. Did Go Pro undergo any sort of analysis            20 materials and supplies?
                                                                   21 of these employees' time to determine how much was    21 A. Yes.
                                                                   22 spent on any specific project, or was everything      22 Q. And have you reviewed your
                                                                                                              PLANET DEPOS
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                                                                                                            Transcript of Sameh Elrahimy                                8 (29 to 32)

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                                                                                                                        29                                                         31
                                                                    1 American Express credit card statements to                 1 so that we can discuss --
                                                                    2 ascertain payments related to the Latvian Embassy          2          MR. BARNES: Let me just make sure I have
                                                                    3 project?                                                   3 this right. So you want -- you don't want the
                                                                    4      A. Yes.                                               4 Capital One Bank -- or you want the Capital One
                                                                    5      Q. You have reviewed those bank statements?           5 Bank account statements for the period of time when
                                                                    6      A.  Yes.                                              6 work was going on, or payments were being made on
                                                                    7      Q. And did those bank statements include              7 this project. And then you would like the
                                                                    8 payments made for supplies and materials related to        8 American Express account statements for the same
                                                                    9 the Latvian Embassy?                                       9 period?
                                                                    10 A. I would have to double-check because some 10                      MR. GILREATH: Specific -- if he is able
                                                                    11 payments here are made, yeah, so...                       11 to ascertain from either set of those bank account
                                                                    12        MR. GILREATH: Mr. Barnes, I would                  12 records what -- that it relates to the Latvian
                                                                    13 request that, in addition to the Capital One bank         13 Embassy project, I think it's discoverable and
                                                                    14 accounts being reviewed, that the American Express        14 should be produced, especially in light of the
                                                                    15 statements also be reviewed.                              15 court's August 21st order.
                                                                    16        MR.   BARNES:       Well,   Counsel, I don't think 16         With that being said, the bank account
                                                                    17 credit cards show what project, I think they just         17 records show the same thing that the time entries
                                                                    18 show what the charges are, and this is the backup         18 do, which is, here's a lump sum payment, but we
                                                                    19 for the charges that establish that it was this           19 can't break it down per project, then it's not
                                                                    20 project. I think, just like your credit card, it's        20 going to do me any good, it's not going to do you
                                                                    21 not going  to tell you  what  you   were using the        21 any good, it doesn't make sense. But I'd like to
                                                                    22 expenditure for, it'll just tell you what amounts         22 be at least be able to confirm, for example, the
                                                                                                                        30                                                         32
                                                                    1 went out and to what vendor, then you have to look      1 time records show this is how much an employee
                                                                    2 at stuff like this to see what project.                 2 earned and should have been paid and subsequently,
                                                                    3         So I'm not sure what it is you're               3 they were paid that, because again, it's not an
                                                                    4 actually looking for. Are you looking for the           4 actual cost until it's incurred by Go Pro and a lot
                                                                    5 actual -- the statements for the American Express       5 of these records show this is what's charged, but
                                                                    6 and the Capital One cards during the period of time     6 I'd like confirmation that it was actually paid.
                                                                    7 that work was going on in this project?                 7         And the most important thing, I think, is
                                                                    8         MR. GILREATH: If Mr. Elrahimy's going to        8 the payment to Mr. Raouf because during his first
                                                                    9 testify that he's reviewed those bank account           9 deposition, I asked about who was paid, what they
                                                                    10 records and not been able to ascertain what those      10 were paid, and this is the first I'm hearing in our
                                                                    11 payments relate to, that's fine. But as he             11 conversations that Mr. Raouf was paid for his work,
                                                                    12 previously testified, he hasn't looked at the          12 separate and apart from --
                                                                    13 Capital One bank records yet to even make that         13        MR. BARNES: Okay. Well, we'll take a
                                                                    14 determination. But he's testified that Raouf might     14 look and see what we can track down. I mean, it
                                                                    15 have been paid from that account or that employees     15 was my understanding that that wasn't the case, but
                                                                    16 may have been paid from that account, that goes        16 we'll go back and look and we'll verify that. I
                                                                    17 directly to actual costs incurred by Go Pro for the    17 mean, I think it's a fair request.
                                                                    18 Latvian Embassy project, and I think are               18 BY MR. GILREATH:
                                                                    19 discoverable and should be produced.                   19 Q. Okay. So, Mr. Elrahimy, turning your
                                                                    20        MR. BARNES: So --                               20 attention to the court order also stating that
                                                                    21        MR. GILREATH: Or at the very least, the         21 Go Pro was to conduct an additional search relating
                                                                    22 information provided in an answer to interrogatory     22 to VNI's Document Request Number 24. Document
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                                                                                                            Transcript of Sameh Elrahimy                            9 (33 to 36)

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                                                                                                                       33                                                     35
                                                                    1 Request Number 24 requested Go Pro's yearly audited   1      Q. So he may possess documentation that
                                                                    2 financial statement for 2021 and 2022, including      2 relates to payments made either to or from Go Pro
                                                                    3 all appendices, exhibits, notes, and accountant's     3 and Optimum Construction or Raouf Elrahimy?
                                                                    4 letters.                                              4      A. It would be the same information on the
                                                                    5          In my review of the documents produced by    5 bank statement.
                                                                    6  Go  Pro  today,  I have not identified any financial 6      Q. Okay. So there is no information that
                                                                    7 statement for Go Pro for either the year 2021 or      7 your accountant may possess that Go Pro does not
                                                                    8 2022. Were you able to locate financial statements    8 also have access to?
                                                                    9 for Go Pro for either of those years during your      9      A. Correct.
                                                                    10 search?                                              10 Q. The August 21st, 2023, court order also
                                                                    11     A. No.                                           11 directed Go Pro to conduct an additional search
                                                                    12     Q. And when you conducted that search, what      12 relating to documents responsive to Request Number
                                                                    13 did you do? How did you conduct that search? Was     13 25. Request Number 25 requested documents that
                                                                    14 that similar to the other searches, where you        14 constitute, refer, relate, or pertain to the number
                                                                    15 looked on your computer, your hard copy paper,       15 of man-hours expended by Go Pro and the calculation
                                                                    16 where you couldn't find it, in fact?                 16 of the average monthly man-hours necessary for the
                                                                    17     A. I had Cindy Conley call our accountant,       17 construction of the project. We have your payroll
                                                                    18 Fadi Salah, and asked him, and he confirmed that we 18 information.
                                                                    19 did not have, obviously, the financial statements    19         Did Go Pro maintain any calculation of
                                                                    20 for these years.                                     20 the average monthly man-hours needed on the
                                                                    21     Q. When Ms. Conley contacted your                21 Latvian Embassy project in particular?
                                                                    22 accountant, did she ask your accountant whether or   22 A. Specific to the Latvian Embassy, I don't
                                                                                                                       34                                                     36
                                                                    1 not any financial information had been provided        1 have that information yet.
                                                                    2 from Go Pro to your accountant in the calendar year    2      Q. When you say, yet, do you expect to come
                                                                    3 2021 or 2022?                                          3 into possession of that information?
                                                                    4      A. Well, what do you mean any financial           4      A. No. We haven't closed the -- the
                                                                    5 information? I don't know -- I don't understand        5 project. Typically, at end of every project, we
                                                                    6 that question.                                         6 would close it out and we would have that
                                                                    7      Q. So we've discussed the financial               7 information, but we haven't closed that project
                                                                    8 information; actual cost reports, actual cost          8 out, so I don't have that information yet.
                                                                    9 incurred by Go Pro for the Latvian Embassy project.    9      Q. So when you say, when you close the
                                                                    10 You produced your man-hour payroll information.       10 project out, you then have access to that
                                                                    11 You produced Home Depot receipts.                     11 information, where is that information kept
                                                                    12         I'm asking, is there potentially anything     12 currently?
                                                                    13 else that shows actual cost incurred by Go Pro in     13 A. No, it's not kept -- it's not kept
                                                                    14 2021 or 2022 relating to the Latvian Embassy          14 anywhere. I don't have that information.
                                                                    15 project that may have been given to your accountant   15 Q. So when you said, yet, you don't actually
                                                                    16 and not returned to Go Pro's possession?              16 expect to ever have access to the calculation of
                                                                    17 A. The accountant is typically not involved           17 average monthly man-hours needed for the
                                                                    18 with the job breakdowns and -- you know, so no.       18 Latvian Embassy project?
                                                                    19 Q. But would he have any information                  19 A. No, I do not have it.
                                                                    20 relating to payments coming in and payments going     20 Q. Does Go Pro maintain any sort of, like,
                                                                    21 out on an annual basis?                               21 quality control documentation relating to, this is
                                                                    22 A. Yes.                                               22 how much we've spent on the Latvian Embassy project
                                                                                                               PLANET DEPOS
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                                                                                                             Transcript of Sameh Elrahimy                                10 (37 to 40)

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                                                                                                                         37                                                          39
                                                                    1 to date, this is how many man-hours we've spent on       1      A. Yes.
                                                                    2 the Latvian Embassy to date? This is the work            2      Q. Where on this entry does it identify what
                                                                    3 we've completed to date? Do you keep that                3 given project -- what projects Brandon Smith was
                                                                    4 information, other than the project reports that         4 assigned to on April 12th, 2022?
                                                                    5 you issue to your client during a project?               5      A. It does not on this entry.
                                                                    6      A. No. But if we need to calculate the              6      Q. But you're saying that there is
                                                                    7 man-hours, we could sit with everyone in the office      7 documentation maintained by PayStation that would
                                                                    8 and figure out exactly when and who was working at       8 show what projects Brandon Smith would have been
                                                                    9 that project.                                            9 assigned to on this date?
                                                                    10     Q. But there is no sort of paperwork                10 A. Yes, I believe so. I just have to
                                                                    11 maintained that would show that information, it         11 confirm.
                                                                    12 would be --                                             12         MR. GILREATH: Mr. Barnes, I'd request
                                                                    13     A. Just the -- sorry.                               13 that that documentation be reviewed.
                                                                    14     Q. It would just be word of mouth from a            14         MR. BARNES: Yeah, this is the first I'm
                                                                    15 given employee telling you, this is how much time       15 hearing of that too. I suspect that's not the
                                                                    16 I've spent at the Latvian Embassy in a given period     16 case, but he may be under a misapprehension, but
                                                                    17 of time?                                                17 we'll look into it. If there is, in fact,
                                                                    18     A. No. So we -- we know where every -- each         18 something that indicates what project they worked
                                                                    19 person worked on -- on daily basis.                     19 on, obviously, you will have it.
                                                                    20     Q. Is that because Go Pro created a schedule        20         MR. GILREATH: And if there are separate
                                                                    21 on a daily basis for employees?                         21 work   schedules,  separate and apart from PayStation
                                                                    22     A. Yes. In the TimeStation, we would label          22 that were produced on a daily or weekly or monthly
                                                                                                                         38                                                          40
                                                                    1 every person where they -- they worked.                       1 basis, we'd like those as well.
                                                                    2      Q.     And did you   do that for the Latvian             2          MR. BARNES: Yeah, well, I think he's
                                                                    3 Embassy project?                                              3 already testified in the earlier depositions that
                                                                    4      A. For all projects, yes.                                4 they didn't retain any of that stuff, but they'll
                                                                    5      Q. You still have access to the schedules or             5 look again, I guess.
                                                                    6 the PayStation information that would show where a            6 BY MR. GILREATH:
                                                                    7  given   employee   was  supposed   to  work  on a given day? 7      Q. So other than the payroll information
                                                                    8      A. Yes.                                                  8 maintained by Optimum Construction, which has been
                                                                    9      Q. Have you produced that documentation to               9 produced, and the payroll information through
                                                                    10 your attorney?                                               10 PayStation that you produced, were there any other
                                                                    11 A. No, so it's the TimeStation that we -- we                 11 laborers or employees involved in the
                                                                    12 have submitted.                                              12 Latvian Embassy project that documented their time
                                                                    13 Q. Well, we went through the TimeStation,                    13 that you have not produced?
                                                                    14 right? And I can pull it back up.                            14 A. No.
                                                                    15          Looking at, again, at Go Pro Number 34,             15 Q. For example, was there another
                                                                    16 for example, Plaintiff's Document Production 280,            16 subcontractor involved? Did Mr. Raouf maintain
                                                                    17 this is  the PayStation  documentation    that you           17 daily time entries for his time at the project or
                                                                    18 produced.                                                    18 any other laborers that are not illustrated in the
                                                                    19          So on here, it says, Brandon Smith,                 19 documents that have been produced today?
                                                                    20 April 12th, 2022, 6:31 Tuesday, 6:31 a.m. to                 20 A. I don't think so, no.
                                                                    21 4:02 p.m., 9.5 hours. And the calculation,                   21 Q. Does Go Pro -- other than the information
                                                                    22 $237.50.     Correct?                                        22 maintained by PayStation relating to time entries,
                                                                                                                 PLANET DEPOS
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                                                                                                           Transcript of Sameh Elrahimy                            11 (41 to 44)

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                                                                    1 does Go Pro maintain any sort of payroll journal      1 Raouf Elrahimy, regarding whether or not he had
                                                                    2 for its employees?                                    2 possession of any documents regarding the
                                                                    3      A. I'm not sure I understand the question.       3 calculation of rates, charges, cost, overhead or
                                                                    4      Q. Is the only way that Go Pro monitored         4 profit?
                                                                    5 time at the time the Latvian Embassy was ongoing,     5      A. Yes.
                                                                    6 was the only time that time was kept was through      6      Q. And how did he respond, when you asked
                                                                    7 PayStation?                                           7 him about that documentation?
                                                                    8      A. TimeStation.                                  8      A. Yeah, he said, I will look and prepare
                                                                    9      Q. TimeStation.                                  9 what I have. He prepared a folder, brought it
                                                                    10 A. Time, yes.                                        10 over. We scanned any documents he had and
                                                                    11 Q. Were there any employees that were                11 submitted them with our documents.
                                                                    12 salaried by Go Pro at the time of the                12 Q. Do you recall specifically which
                                                                    13 Latvian Embassy project, or was everyone an hourly   13 documents were provided by your father that were
                                                                    14 employee who maintained their time through           14 not already in Go Pro's possession?
                                                                    15 TimeStation?                                         15 A. I don't.
                                                                    16 A. It runs through TimeStation.                      16 Q. And then, finally, VNI Request Number 30,
                                                                    17 Q. Mr. Elrahimy, were you involved in the            17 which was also addressed by the court's August 21,
                                                                    18 Latvian Embassy project yourself specifically?       18 2023 order, VNI Document Request Number 30 seeks
                                                                    19 A. Yes.                                              19 all documents relating to Go Pro's original and
                                                                    20 Q. Did you maintain your time at the                 20 revised budgets, bids or estimates for either the
                                                                    21 Latvian Embassy project in any way?                  21 original or revised scope of work for the project,
                                                                    22 A. I don't believe so.                               22 as well as backup documentation.
                                                                                                                       42                                                     44
                                                                    1      Q. Were you paid specifically for your time     1          It's my understanding that Go Pro did not
                                                                    2  at the Latvian  Embassy   project?                  2  find  any  information relating to the original
                                                                    3      A. I don't believe so.                          3 budget, bid or estimate for the Latvian Embassy
                                                                    4      Q. So are you an hourly employee or do you      4 project; is that correct?
                                                                    5 just take, like, an annual salary from Go Pro?       5      A. Yes. Everything I have, I submitted.
                                                                    6      A. No, I'm not an hourly employee. I do         6      Q. Is it possible that Go Pro, at the time
                                                                    7 take an annual salary.                               7  that it was submitted to VNI and prior to the
                                                                    8      Q. Court order also addressed an additional     8 execution of the contract, is it possible that an
                                                                    9 search related to VNI's Document Request Number 27. 9 original budget or a bid estimate or takeoff was
                                                                    10 Request Number 27 seeks documentation relating to   10 prepared by Go Pro or Raouf Elrahimy?
                                                                    11 the methodology or the calculations of rates,       11 A. Say that again, I'm sorry. The first
                                                                    12 charges,  job  costs, material costs, overhead, and 12 part of that question wasn't clear.
                                                                    13 profit for the project.                             13 Q. So not looking at now, where you say the
                                                                    14         Did Go Pro conduct an additional search     14 documents don't exist, is it possible that a
                                                                    15 for documentation relating to the methodology or    15 document such as an original budget, a bid, or an
                                                                    16 calculation of rates, cost, overhead, and profit    16 estimate existed some previous time between when
                                                                    17 for the Latvian  Embassy   project?                 17 the bid was prepared and the contract being
                                                                    18 A. Yes.                                             18 executed by VNI?
                                                                    19 Q. Were you able to locate any initial              19 A. Yes, I'm sure we came up with a budget
                                                                    20 documentation relating to those calculations?       20 somehow, but I don't have information.
                                                                    21 A. No additional documentations.                    21         MR. BARNES: He's asking you about
                                                                    22     Q.   Did  you speak  with  your father,         22 whether    that was one, a document or a writing.
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                                                                                                           Transcript of Sameh Elrahimy                               12 (45 to 48)

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                                                                                                                      45                                                        47
                                                                    1      A. No, not that I'm aware of.                     1 BY MR. GILREATH:
                                                                    2      Q. Who would have -- and it's my                  2      Q. And you did not locate any of that
                                                                    3 understanding Raouf would have been involved in the    3 documentation during your additional search?
                                                                    4 calculation of any sort of original bid estimate;      4      A. No.
                                                                    5 is that correct?                                       5      Q. So in addition to some of the Home Depot
                                                                    6      A. Correct. Yes.                                  6 receipts like I showed you earlier, there are a
                                                                    7      Q. But Mr. Raouf has not provided you with        7 number of other invoices that indicate that certain
                                                                    8 any documentation, reflecting an original bid or       8 supplies and materials were to be shipped to or
                                                                    9 bid estimate that predated --                          9 paid for by Optimum Construction. Do you recall
                                                                    10 A. We did have --                                     10 that invoicing information?
                                                                    11 Q. -- the execution of the contract?                  11 A. You'd have to show me --
                                                                    12 A. I'm sorry.                                         12 Q. I'll pull it up.
                                                                    13 Q. I said, your father has not provided you           13 A. -- an example.
                                                                    14 with any sort of document -- documentation            14         Could I take an exactly 30-second break.
                                                                    15 reflecting an original bid or bid estimate that       15 Is that possible?
                                                                    16 predated the execution of the contract?               16 Q. Let's finish this question and I'll give
                                                                    17 A. He did not.                                        17 you a break. Give me one minute.
                                                                    18         MR. BARNES: Counsel, I'm not sure I           18         So I'm going back to Go Pro Number 34.
                                                                    19 followed that. My recollection of our production,     19 It's identified as Plaintiff's Document Production
                                                                    20 there was a proposal that was prepared, and then a    20 399. This is an invoice from TW Perry.
                                                                    21 contract that was executed that incorporated the      21         You see it at the top where it says, Sold
                                                                    22 proposal. So I think the proposal would be            22 to, Shipped To, and then identifies Optimum
                                                                                                                      46                                                        48
                                                                    1 something that preexisted the execution of the         1 Construction?
                                                                    2 contract. You're asking if there's anything else;      2      A. Yes.
                                                                    3 is that right?                                         3      Q. And do you see where it says, Please pay
                                                                    4         MR. GILREATH: Correct. Because I               4 this amount of $4,426.42?
                                                                    5 believe the proposal didn't have, like, line item      5      A. Yes.
                                                                    6 estimates of the cost. I think it was just a           6      Q. It says, Payment method Buyer:
                                                                    7 general scope of work documentation.                   7  Bobbie  Onorio. Do you recognize that name?
                                                                    8         MR. BARNES: But --                             8      A. Yes. She's the administrator at Optimum
                                                                    9         MR. GILREATH: I'm asking, was there any        9 Construction.
                                                                    10 sort of calculation of this line item, this           10 Q. And it says, Charged to account,
                                                                    11 specific aspect of work costs this amount of money.   11 $4,426.42. Was that charged to Optimum
                                                                    12        MR. BARNES: Yeah. This amount of 2 by          12 Construction's account with TW Perry?
                                                                    13 4s is going to be used or this amount of -- or this   13 A. I believe so, yes.
                                                                    14 is what it's going to cost, this amount of labor,     14 Q. Was Optimum Construction reimbursed for
                                                                    15 man-hours, all that kind of stuff?                    15 the cost of this invoice by Go Pro Construction?
                                                                    16        MR. GILREATH: Correct.                         16 A. I don't have recollection of that.
                                                                    17        MR. BARNES: That's what you're looking         17 Q. If they had been reimbursed, would they
                                                                    18 at. Yeah, okay.                                       18 have been reimbursed through the Capital One bank
                                                                    19        You understand, Mr. Elrahimy, that's what      19 account?
                                                                    20 you're being asked?                                   20 A. Yes.
                                                                    21        THE WITNESS: Yes, now I do.                    21 Q. Is it ordinary practice for Go Pro
                                                                    22        MR. BARNES: Okay.                              22 Construction, when they're reimbursing a
                                                                                                               PLANET DEPOS
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                                                                                                           Transcript of Sameh Elrahimy                             13 (49 to 52)

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                                                                                                                      49                                                       51
                                                                    1 subcontractor for costs relating to a project, to      1         (Recess from 3:24 p.m. until 3:37 p.m.)
                                                                    2 issue individual payments per reimbursement            2 BY MR. GILREATH:
                                                                    3 request, or do they compile everything into one        3     Q. Mr. Elrahimy, we have walked through the
                                                                    4 larger payment?                                        4 court's August 21, 2023 order and the document
                                                                    5      A. To just a subcontractor?                       5 request the court identified as being evasive or
                                                                    6      Q. For example, if Optimum Construction were      6 unresponsive and where Go Pro needed to conduct an
                                                                    7 to provide this invoice to Go Pro and say, hey,        7 additional search.
                                                                    8 Go Pro, we paid this invoice for the Latvian           8         MR. BARNES: Court said potentially
                                                                    9 Embassy project, and then they were to also provide    9 evasive, I didn't think they --
                                                                    10 a second invoice, as shown here, Plaintiff's          10        MR. GILREATH: Sure.
                                                                    11 Document Production 400, would Go Pro make two        11        MR. BARNES: -- determined it was
                                                                    12 separate payments; one for 4,426.42, and one for      12 evasive.
                                                                    13 $3,078.24, or would it make one lump sum payment to   13        MR. GILREATH: Potentially evasive or
                                                                    14 Optimum?                                              14 unresponsive and ordering that Go Pro conduct an
                                                                    15 A. We would most likely make two payments.            15 additional search as it related to those specific
                                                                    16 Q. So your bank account records would be              16 requests.
                                                                    17 able to back up these invoices on whether or not      17 BY MR. GILREATH:
                                                                    18 Go Pro reimbursed Optimum for these individual        18 Q. We walked through what's been produced
                                                                    19 invoices?                                             19 supplementally, and the search process that Go Pro
                                                                    20 A. I believe so, if we paid them in the               20 underwent to identify any sort of documents that
                                                                    21 amounts or the exact amounts, it would be on our      21 were found, you indicated.
                                                                    22 bank statement.                                       22        I just want to step back one more time,
                                                                                                                      50                                                       52
                                                                    1      Q. But you have not cross-referenced the          1 and make sure I fully understand what Go Pro did,
                                                                    2  invoices  that you produced with your bank            2 what you and Ms. Conley did to look for the
                                                                    3 statements to date; is that correct?                   3 documents identified in the court's August 21st,
                                                                    4      A. I don't believe these were paid from           4 2023 order, to identify whether or not any
                                                                    5 Capital One to Optimum -- Go Pro to Optimum.           5 additional documentation exists.
                                                                    6      Q. So you believe that these were costs           6         So, again, you've gone on a Google Drive
                                                                    7  incurred  by Optimum, but were not ever charged to    7  that's maintained by Go Pro relating to the
                                                                    8 Go Pro for Go Pro to pay Optimum back?                 8 Latvian Embassy project; is that correct?
                                                                    9      A. (No verbal response.)                          9      A. Yes.
                                                                    10        MR. BARNES: We didn't hear your answer.        10 Q. And is that a singular folder on the
                                                                    11 A. I said, yeah, correct.                             11 Google Drive for the Latvian Embassy project?
                                                                    12        MR. GILREATH: Mr. Elrahimy, we can take        12 A. Yes.
                                                                    13 a break. Actually, let's take a five-minute break.    13 Q. And what is maintained on the Go Pro
                                                                    14 I don't think I'm going to need that much more        14 Google Drive, as it relates to the Latvian Embassy
                                                                    15 time. But let's meet back at 3:30, if that works      15 project? What type of documentation?
                                                                    16 for everyone.                                         16 A. Typically, we'd keep any documents
                                                                    17        MR. BARNES: Okay. And when we get back,        17 related to the project, such as the contract, the
                                                                    18 when you're finished, I want to make sure we go       18 blueprints, receipts, any documents related to the
                                                                    19 through each of these items that you want to          19 project.
                                                                    20 supplement on because I want to make sure we're on    20 Q. Do you maintain copies of e-mail
                                                                    21 the same page.                                        21 correspondence with the client, or is that
                                                                    22        MR. GILREATH: Okay. We can do that.            22 maintained separately through your e-mail account?
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                                                                                                            Transcript of Sameh Elrahimy                                14 (53 to 56)

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                                                                                                                           53                                                      55
                                                                    1      A. We don't maintain those, it's just in the         1     Q. What type of documents does Go Pro
                                                                    2 e-mail account.                                           2 maintain hard copies of?
                                                                    3      Q. Do you maintain proof of payment                  3     A. No, we don't maintain hard copies.
                                                                    4 submitted by Go Pro to a subcontractor or a               4     Q. So there were no hard copy documents for
                                                                    5 supplier or anything of that nature?                      5 Go Pro to review, as it relates to the Latvian
                                                                    6      A. Yes.                                              6 Embassy project?
                                                                    7      Q. I understand that you keep receipts of            7     A. No. I'm sorry, maybe I misunderstood. I
                                                                    8 things you buy, but you also keep proof of, look,         8 thought you said if we looked for hard copies, and
                                                                    9 this is when we paid something?                           9 we -- we looked, I don't have any hard copies.
                                                                    10 A. Yes.                                                  10 Q. So you looked for hard copies, but you
                                                                    11 Q. Did you maintain any sort of proof of                 11 did not find any hard copies?
                                                                    12 payment, as it relates to payments made either to        12 A. Yes.
                                                                    13 Optimum or to your father, Raouf Elrahimy?               13 Q. Okay. We discussed TimeStation as the
                                                                    14 A. If I did, they would be on the Drive,                 14 service utilized by Go Pro to maintain hourly
                                                                    15 yes.                                                     15 employees' time on a daily basis; is that correct?
                                                                    16 Q. But you stated that you reviewed the                  16 A. Yes.
                                                                    17 Google Drive completely; is that correct?                17 Q. While I understand that you produced
                                                                    18 A. Yes.                                                  18 TimeStation payroll information for the period in
                                                                    19 Q. And you did not locate anything to that               19 time in which the Latvian Embassy project was
                                                                    20 effect?                                                  20 ongoing, TimeStation does not allow you to sort
                                                                    21 A. No.                                                   21 time entries by project assigned to an employee?
                                                                    22 Q. And in addition to the Google Drive                   22 A. No, I didn't say that. I just said I
                                                                                                                           54                                                      56
                                                                    1 folder for the Latvian Embassy project, did you           1 would have to check to see if that's something
                                                                    2 also review Go Pro e-mail accounts relating to            2 that's available on TimeStation.
                                                                    3 correspondence on the Latvian Embassy project?            3      Q. But you've not done that yet?
                                                                    4      A. Yes.                                              4      A. No.
                                                                    5      Q. And correspondence relating to the                5      Q. And is it -- you previously stated that
                                                                    6 Latvian Embassy project has been produced to your         6 there is a schedule of some sort provided to hourly
                                                                    7 attorney and provided to us?                              7 employees relating to what project they're assigned
                                                                    8      A. Yes.                                              8 on a given day, what projects they're assigned to
                                                                    9      Q. In addition to the e-mail accounts and            9 go to on a given day?
                                                                    10 the Google Drive folder, where else did you look or      10     A. Correct. So we maintain an internal text
                                                                    11 Ms. Conley look for potentially responsive               11 messaging group where the guys are working daily.
                                                                    12 documentation relating to the Latvian Embassy            12     Q. So when you say, an internal text
                                                                    13 project?                                                 13 messaging group, was there a project manager that
                                                                    14 A. Just with our accountant.                             14 was responsible for scheduling for a given project?
                                                                    15 Q. And you stated your -- you stated that                15     A. For the Latvian Embassy?
                                                                    16 Ms. Conley had contacted your accountant and he did      16     Q. Correct.
                                                                    17 not possess any additional documentation that            17     A. I believe that was Jason Kirk with
                                                                    18 Go Pro did not already have its hands on?                18 Optimum.
                                                                    19 A. Correct.                                              19     Q. So would Jason be the one on this text
                                                                    20 Q. Did Go Pro look through any hard copies               20 message  -- these text message threads to tell
                                                                    21 of files or documents at Go Pro's offices?               21 certain employees to come to the Latvian Embassy
                                                                    22 A. Yes.                                                  22 project?
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                                                                                                            Transcript of Sameh Elrahimy                            15 (57 to 60)

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                                                                                                                       57                                                     59
                                                                    1      A. No.                                            1      A. I believe so, yes.
                                                                    2      Q. So how would the text spread the word?         2      Q. So if Optimum was responsible for keeping
                                                                    3 Who would send out via text --                         3 all the time entries for the Latvian Embassy
                                                                    4      A. That's just our general practice. It           4 project, then wouldn't only the Optimum payroll
                                                                    5 would probably be Brandon Smith.                       5 documentation that you produced provide the
                                                                    6      Q. Is Brandon Smith still an employee of          6 information related to those working at the
                                                                    7 Go Pro?                                                7 Latvian Embassy project?
                                                                    8      A. Yes.                                           8      A. Because we -- I believe we had our Go Pro
                                                                    9      Q. Have you asked Brandon Smith to review         9 workers there too.
                                                                    10 his text messages to determine any scheduling text    10 Q. I guess my question is, if a Go Pro
                                                                    11 messages that may be able to provide additional       11 employee was working at the Latvian Embassy
                                                                    12 information on the schedule for the Latvian Embassy   12 project, would their time be maintained by Optimum
                                                                    13 project on a given day or for a given amount of       13 or would they maintain their time through
                                                                    14 time?                                                 14 TimeStation?
                                                                    15 A. I haven't, no.                                     15 A. If a Go Pro employee, would be on
                                                                    16 Q. Other than the text message threads, was           16 TimeStation.
                                                                    17 there any sort of daily schedule prepared either on   17 Q. Does an employee enter their time into
                                                                    18 a Word document or an Excel spreadsheet that was      18 TimeStation, or does the employee -- does yourself
                                                                    19 distributed to all employees, either on a daily       19 or someone else --
                                                                    20 basis or a weekly basis or a monthly basis?           20 A. They --
                                                                    21 A. For the Latvian Project?                           21 Q. -- overseeing the project enter the time?
                                                                    22 Q. Correct.                                           22 A. They clock in and out on TimeStation.
                                                                                                                       58                                                     60
                                                                    1      A. No.                                          1      Q. And is TimeStation an app on a phone or
                                                                    2      Q.  And  I want to make   sure that we get      2  is there some sort of tool to check in on the
                                                                    3 accurate testimony. Earlier, you had indicated       3 project site?
                                                                    4 that when an employee enters their starting time     4      A. It's an app on their phone.
                                                                    5 into TimeStation, it would tell them where they      5      Q. So for the Latvian Embassy project, would
                                                                    6 were assigned; is that correct?                      6 a Go Pro employee clock in on TimeStation, but then
                                                                    7      A. Yeah, that's where the text messaging        7 also have their time maintained by Optimum?
                                                                    8 comes in, where the project manager would say, at 8         A. Yes.
                                                                    9 the end of the day, these guys were working at that 9       Q. So there's a possibility that the records
                                                                    10 specific project. So we close out TimeStation       10 that you produced, the Optimum Construction payroll
                                                                    11 daily, confirming where everybody was working. 11 register information and then the TimeStation
                                                                    12 Q. So you said Brandon -- so for the                12 information is duplicative?
                                                                    13 Latvian Embassy project, Brandon Smith would send a 13 A. No. They are two separate payrolls with
                                                                    14 text message at the end of the day saying, this     14 different people. So you wouldn't have, for
                                                                    15 employee got here at this time and left at this     15 example, Alex that is on the Go Pro payroll also on
                                                                    16 time from this project?                             16 the Optimum payroll.
                                                                    17 A. Not for the Latvian Embassy because              17 Q. Did Optimum provide any documentation to
                                                                    18 Optimum was keeping track of the hours and the 18 Go Pro, as it related to time entries for Go Pro
                                                                    19 project management.                                 19 employees?
                                                                    20 Q. And was Optimum keeping the time entry           20 A. Say that again, I'm sorry.
                                                                    21 information for the entirety of the Latvian Embassy 21 Q. I said, did Optimum provide Go Pro with
                                                                    22 project?                                            22 any documentation, as it relates to time entries on
                                                                                                                PLANET DEPOS
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                                                                                                            Transcript of Sameh Elrahimy                             16 (61 to 64)

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                                                                                                                       61                                                      63
                                                                    1 the Latvian Embassy project for Go Pro employees?      1      A. Yes.
                                                                    2      A. Not that I --                                  2      Q. You have reviewed your bank statements?
                                                                    3      Q. Or was the only documentation given to Go      3      A. Yes.
                                                                    4 Pro that information that was maintained in            4      Q. Did you identify any payments to
                                                                    5 TimeStation?                                           5 Optimum Construction?
                                                                    6      A. Yeah, not that I have in my possession.        6      A. No.
                                                                    7      Q. When you say, your possession, are you         7      Q. Did you review your Capital One bank
                                                                    8 speaking about yourself individually or are you        8 statements to assess whether or not Go Pro made any
                                                                    9 talking about Go Pro as a whole?                       9 payments to your father, Raouf Elrahimy?
                                                                    10 A. Go Pro as a whole.                                 10     A. Other than the one I mentioned earlier
                                                                    11 Q. Do you know if that documentation may              11 or --
                                                                    12 exist somewhere in Go Pro's universe or have you      12     Q. Well, you stated that you probably paid
                                                                    13 not looked for that?                                  13 him, and that if you did pay him, it would have
                                                                    14 A. I haven't looked for that.                         14 come from the Capital One bank account.
                                                                    15 Q. So in addition to your Google Drive, your          15     A. Yeah.
                                                                    16 e-mail, the Go Pro e-mail accounts, hard copies of    16     Q. But you did not testify whether or not
                                                                    17 physical documentation, TimeStation documentation,    17 you reviewed the bank account statements to confirm
                                                                    18 and potential text messages regarding scheduling      18 whether or not that actually took place.
                                                                    19 for hourly employees at the Latvian Embassy           19     A. Yeah. He was paid from the -- the
                                                                    20 project, what else did you search through to try to   20 payments that came from the Latvian Embassy that
                                                                    21 identify potentially responsive documents?            21 came through to Go Pro, he was paid that to him.
                                                                    22 A. That should be it.                                 22     Q. Do your bank account statements reflect
                                                                                                                       62                                                      64
                                                                    1     Q. Did you ever text about the                     1 that payment to your father?
                                                                    2 Latvian Embassy project with your father or anyone     2      A. Yes, as I mentioned, it was a transfer.
                                                                    3 else involved in the Latvian Embassy project?          3      Q. But you have not provided your counsel
                                                                    4     A. I am not sure. I don't recall. We text          4 with documentation reflecting that transfer; is
                                                                    5 often, but typically, not about work, so I can't       5 that correct?
                                                                    6 exactly say. I would say no.                           6      A. I don't believe so.
                                                                    7     Q. Did you look through your text messages         7      Q. And was that transfer made to your father
                                                                    8 to confirm or deny whether or not you have any text    8 for his work on the Latvian Embassy project?
                                                                    9 messages relating to the Latvian Embassy project?      9      A. I believe that transfer is made to him so
                                                                    10    A. Yes.                                            10 he can manage the project.
                                                                    11    Q. And you did not locate anything?                11 Q. So is your father responsible for
                                                                    12    A. I'm sorry?                                      12 payments relating to the Latvian Embassy project as
                                                                    13    Q. You did not locate any such text                13 the project continues?
                                                                    14 messages?                                             14 A. Yes.
                                                                    15    A. I've reviewed my text messages. I don't         15 Q. Is it typical for Go Pro to issue full
                                                                    16 have any record.                                      16 and complete payments, transfers of payments from a
                                                                    17    Q. And then we previously discussed both the       17 client to someone like your father on any given
                                                                    18 Capital One bank accounts and the American Express    18 project?
                                                                    19 credit card. Have you reviewed Capital One bank       19 A. Can you elaborate more on exactly what
                                                                    20 account statements to determine whether or not        20 you mean.
                                                                    21 Optimum -- or Go Pro issued any payments to Optimum   21 Q. Has your father served as an engineer for
                                                                    22 Construction?                                         22 a project -- another project other than Latvian
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                                                                                                            Transcript of Sameh Elrahimy                               17 (65 to 68)

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                                                                                                                       65                                                         67
                                                                    1 Embassy for Go Pro?                                     1 any proof of payment for anything that he paid, as
                                                                    2      A. Maybe, I don't recall exactly, but, yes,        2 it relates to the Latvian Embassy project?
                                                                    3 maybe. Because you say, serve as an engineer?           3      A. What he had he said he provided and I --
                                                                    4      Q. Or a project manager. In any role on            4 these were the documents I uploaded.
                                                                    5 behalf of Go Pro, has your father served on another     5      Q. But based on that documentation, you
                                                                    6 project for Go Pro?                                     6 haven't taken the time to put together any sort of
                                                                    7      A. He has taken other projects under               7 ledger, like you discussed, to determine what
                                                                    8 Go Pro's name, yes. And because he's my father, he      8 you're entitled to back from that previous transfer
                                                                    9 works -- he, you know, he uses -- he's allowed to       9 made to him?
                                                                    10 use my company in commercial projects, using the       10 A. I haven't, no.
                                                                    11 name of my company and using my company, yes.          11 Q. As far as the American Express credit
                                                                    12     Q. And in those other projects, was your           12 card statement, have you reviewed your American
                                                                    13 father, likewise, transferred payment provided by      13 Express statement and cross-referenced it with the
                                                                    14 the client through Go Pro?                             14 invoices you provided, whether it be TW Perry, Home
                                                                    15     A. He has access to Go Pro bank account as         15 Depot, to confirm payments were made from the Go
                                                                    16 well, and so it would depend on the -- on which        16 Pro credit card?
                                                                    17 account the funds were in. So let's say, for           17 A. I haven't, no.
                                                                    18 example, if he takes a check made out to Go Pro, he    18         MR. BARNES: Just let me object. I think
                                                                    19 can deposit it into -- directly into his Go Pro        19 the TW Perry was with Optimum, it was not with Go
                                                                    20 bank account, and if a direct deposit, if they sent    20 Pro.
                                                                    21 it in to our main account, I'm able to transfer it     21 Q. But for the Home Depot invoice that we
                                                                    22 to him through Go Pro bank account.                    22 discussed previously, you have not reviewed the
                                                                                                                       66                                                         68
                                                                    1      Q. So if your father has access to the Go             1 American Express statement to confirm if that was
                                                                    2  Pro  bank account,  why   do  you  need  to  transfer him 2 paid?
                                                                    3 the money?                                                 3       A. No, I haven't.
                                                                    4      A. He has a separate Go Pro bank account as 4                   MR. BARNES: Can I just clarify. When
                                                                    5 well.                                                      5 you say, it was paid, you mean whether American
                                                                    6      Q. Do you have access to that bank account?           6 Express was paid or whether Home Depot was paid?
                                                                    7      A. I don't.                                           7         MR. GILREATH: Whether Home Depot was
                                                                    8      Q. At the conclusion of a project, is it              8 paid.
                                                                    9 expected that your father return any amount of             9         MR. BARNES: Okay. Well, the invoices
                                                                    10 money remaining, relating to a project?                   10 show that Home Depot was paid by American Express.
                                                                    11 A. Yeah. He would either return it or we                  11        MR. GILREATH: There are some that say
                                                                    12 have, you know, an internal ledger between us, so I 12       charge  to the account. I know the TW Perry says
                                                                    13 would owe him money, he would owe me money. 13 it, I know that's Optimum's, but there are others
                                                                    14 Q. Did your father return any of the money                14 that are titled in Go Pro's name, and I want to see
                                                                    15 transferred to him, as it relates to the Latvian          15 if those payments were either made -- that's why
                                                                    16 Embassy project?                                          16 the bank account records are important because I
                                                                    17 A. Not that I recall.                                     17 want to see what was actually paid, whether it's
                                                                    18 Q. Did you maintain a ledger between                      18 payable --
                                                                    19 yourself and your father, as it relates to the            19        MR. BARNES: Well, that's why I was
                                                                    20 Latvian Embassy project?                                  20 asking because the bank account isn't going to show
                                                                    21 A. No.                                                    21 whether Home Depot was paid, it's going to show
                                                                    22     Q.   So your father  hasn't provided    you  with     22 whether American Express was paid. Right? If
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                                                                                                            Transcript of Sameh Elrahimy                            18 (69 to 72)

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                                                                                                                       69                                                      71
                                                                    1 American Express said -- if the Home Depot account     1 isn't necessarily all the charges for supplies and
                                                                    2 says it's being billed to an American Express card,    2 materials that Go Pro paid.
                                                                    3 the bank account isn't going to show a payment to      3         MR. BARNES: I don't think -- I don't
                                                                    4 Home Depot, it's going to show a payment to            4 think it is. I mean, I think there's a lot more
                                                                    5 American Express. So which one are you looking         5 lumber out there.
                                                                    6 for?                                                   6         MR. GILREATH: Exactly. That's why I'd
                                                                    7         MR. GILREATH: Yeah, but the American           7 like to see the credit card statements.
                                                                    8 Express statement will show that there was a charge    8         The bank account records, we have payroll
                                                                    9 from Home Depot for --                                 9 information, but I don't know -- it seems unclear
                                                                    10        MR. BARNES: Right.                             10 whether or not there was some way, through
                                                                    11        MR. GILREATH: So I want to                     11 TimeStation, to figure out if you could separate by
                                                                    12 cross-reference both. I mean, I'm less concerned      12 project per total amount, the bank records will
                                                                    13 about whether or not he made his payments to          13 show what --
                                                                    14 American Express for whatever amount is               14        MR. BARNES: I'm just talking about the
                                                                    15 outstanding; his balance, I don't care about.         15 credit card purchase, I was confused by what you
                                                                    16        MR. BARNES: Right. Well, that's what I         16 were asking.
                                                                    17 was asking.                                           17        MR. GILREATH: No. Yeah, no, I'm not
                                                                    18        MR. GILREATH: When he's testifying that        18 asking for his bank account records. The Capital
                                                                    19 Home Depot was paid on the credit card, I'm asking,   19 One will show if he paid off his American Express,
                                                                    20 did he look at his credit card statements to          20 I don't care. I just need to see --
                                                                    21 confirm the payments were made, like, a charge was    21        MR. BARNES: Yeah, because it doesn't
                                                                    22 made -- let me not say payment, a charge was made     22 matter for -- legally anyway.
                                                                                                                       70                                                      72
                                                                    1 on the credit card, to confirm the invoice. That's 1         MR. GILREATH: Correct.
                                                                    2 the only reason I'm looking at American Express.   2  BY  MR.    GILREATH:
                                                                    3          MR. BARNES: I don't think that's --       3      Q. So other than the Capital One bank
                                                                    4 that's a receipt, though, isn't it? I think that's 4 accounts and the credit card maintained with
                                                                    5 what that is, that he produced to you, shows that  5 American Express, are there any other charge
                                                                    6 American Express was used to pay that account.     6 accounts in the name of Go Pro that would have been
                                                                    7          MR. GILREATH: That is correct, but also, 7 utilized for the Latvian Embassy project, whether
                                                                    8 as he just testified, he hasn't reviewed the       8 it be a credit card with another credit card
                                                                    9 American Express statements. He may go through 9 company, a bank account maintained with another
                                                                    10 those statements and highlight additional charges 10 financial institution, or is it just Capital One
                                                                    11 made on that card that he remembers, oh, that was 11 bank accounts and American Express credit card?
                                                                    12 for the Latvian Embassy project.                  12        MR. BARNES: For Go Pro.
                                                                    13         MR. BARNES: Oh, I see. Additional ones 13 A. Yeah, my father -- sorry?
                                                                    14 not --                                            14        MR. BARNES: For Go Pro.
                                                                    15         MR. GILREATH: Right.                      15 A. Yeah, my father has a Go Pro bank
                                                                    16         MR. BARNES: -- on the ones that we've     16 account, it's through Capital One as well.
                                                                    17 produced?                                         17 Q. But no other credit cards, other than the
                                                                    18         MR. GILREATH: Correct. I'm trying to      18 American Express credit card?
                                                                    19 get -- that's why I'm looking at that.            19 A. Not that I recall, no.
                                                                    20         MR.   BARNES:    Okay.                    20 Q. Who has access to the American Express
                                                                    21         MR. GILREATH: Right now, I have what we 21 credit card?
                                                                    22 believe to be the universe of receipts, but that  22 A. I do.
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                                                                                                          Transcript of Sameh Elrahimy                             19 (73 to 76)

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                                                                                                                     73                                                      75
                                                                    1       Q. Did you ever lend out the credit card to      1          (Go Pro Exhibit 39 was marked for
                                                                    2 employees for them to pay for supplies or              2 identification and was retained by counsel.)
                                                                    3 materials?                                             3      Q. It's titled, Plaintiff's Supplemental
                                                                    4       A. Yes. We have -- I have about seven            4 Answers to Interrogatories. There is a
                                                                    5 different American Express cards that I lent to        5 verification that says, I do solemnly declare and
                                                                    6  my   -- Cindy has  one  of them.                      6 affirm under the penalties of perjury that the
                                                                    7       Q. And are individuals who utilize the Go        7 contents of the foregoing Supplemental Answers to
                                                                    8 Pro American Express credit card instructed to         8 Interrogatories are true and correct, to the best
                                                                    9 provide receipts back to you or Go Pro for any         9 of my knowledge, information, and belief, and there
                                                                    10 purchases made on that credit card?                   10 is a signature. Is this your signature?
                                                                    11 A. In general or --                                   11 A. Yes.
                                                                    12 Q. Specifically for the Latvian Embassy               12 Q. Have you reviewed this document for
                                                                    13 project, one of the number of employees that have     13 accuracy, prior to signing the verification?
                                                                    14 access to the Go Pro American Express credit card,    14 A. Yes.
                                                                    15 if they were to make a purchase for the Latvian       15 Q. So I want to turn your attention to
                                                                    16 Embassy    project on that American   Express  credit 16 Supplemental Answer to Interrogatory Number 19.
                                                                    17 card, are they instructed to retain a receipt or      17 Supplemental answer states: Plaintiff hired
                                                                    18 some sort of invoice showing what was owed and what 18 Optimum Construction to perform project management
                                                                    19 was paid?                                             19 oversight services. Plaintiff does not know the
                                                                    20 A. Yes. But, typically, we would get an               20 value of same and has never calculated the value.
                                                                    21 e-mailed copy of any receipts e-mailed to us.         21         Optimum is owned and operated by the
                                                                    22 Q. Have you reviewed your e-mail accounts             22 brother of the Plaintiff's owner. From time to
                                                                                                                     74                                                      76
                                                                    1 for any e-mailed copies of receipts as it relates    1 time, they perform construction-related services
                                                                    2  to the Latvian  Embassy   project?                  2 for each other without expecting to be compensated.
                                                                    3      A. Not that I recall.                           3         In addition, Plaintiff directly hired
                                                                    4         Can I elaborate on that.                     4 some of Optimum's workers to perform carpentry work
                                                                    5      Q. Yes, you may.                                5 on the subject project.
                                                                    6      A. So the e-mail itself doesn't come labeled    6         Do you recall which Optimum workers were
                                                                    7 as Latvian Embassy. So even if I put in the          7  directly hired by Go Pro to perform carpentry work
                                                                    8 search, Latvian Embassy, it wouldn't necessarily 8 on the Latvian Embassy project?
                                                                    9 trigger the Home Depot e-mails to pull up. And we 9         A. I don't.
                                                                    10 have thousands of receipts for all other projects. 10 Q. Do you recall how those Optimum workers
                                                                    11 Q. Did you attempt to go through those              11 were paid for their time on the Latvian Embassy
                                                                    12 numerous   e-mails  for the dates in which their    12 project?
                                                                    13 project commenced to the date Go Pro ceased work on 13 A. I don't recall that.
                                                                    14 the project, to see if you could identify all the   14 Q. Do you recall how those Optimum workers
                                                                    15 amounts that included the receipts for the Latvian  15 maintained their time spent at the Latvian Embassy
                                                                    16 Embassy project?                                    16 project?
                                                                    17 A. No, I haven't done so.                           17 A. I don't.
                                                                    18 Q. I'm almost finished, Mr. Elrahimy.               18 Q. A little bit further down, it says: In
                                                                    19        Mr. Elrahimy, can you see my screen?         19 addition, Plaintiff hired the professional services
                                                                    20     A.  Yes.                                        20 of J.H. Silcox Engineering & Drafting. Plaintiff
                                                                    21        MR. GILREATH: So I'm showing you what        21 has not received an invoice for these services and
                                                                    22 I'm going to  label as Go  Pro  Number  39.         22 had no record of paying anything for these
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                                                                                                             Transcript of Sameh Elrahimy                               20 (77 to 80)

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                                                                                                                           77                                                      79
                                                                    1 services.                                                 1 overhead and profit estimated or applied by you for
                                                                    2         Do you recall who J.H. Silcox                     2 the work.
                                                                    3 Engineering & Drafting is?                                3         And Go Pro's Supplemental Answer Number
                                                                    4     A. Yes.                                               4 20 states: Plaintiff recently created a
                                                                    5     Q. And what services do they provide to Go            5 takeoff/estimate demonstrating the cost to perform
                                                                    6 Pro for the Latvian Embassy project?                      6 all the work depicted on the plans and
                                                                    7     A. Engineering services.                              7 specifications, and a takeoff/estimate to perform
                                                                    8     Q. When you say, engineering services, can            8 the reduced scope of work identified within the
                                                                    9 you be a little bit more specific?                        9 contract and produce the same to defendant with its
                                                                    10 A. All --                                                10 supplemental response to request for production.
                                                                    11 Q. Like to a certain aspect of the project.              11        You see that?
                                                                    12 A. Regarding J.H. Silcox?                                12 A. Yes.
                                                                    13 Q. Yes.                                                  13 Q. Previously, we had talked about what was
                                                                    14 A. Or regarding the project?                             14 marked, I believe, as Go Pro 35 and 36. Do you
                                                                    15 Q. Yes.                                                  15 recall Go Pro 35 and 36, the two Excel sheets?
                                                                    16 A. I believe he came out to do a report on               16 A. Yes.
                                                                    17 the existing foundation of the building.                 17 Q. And you had stated that you did not know
                                                                    18 Q. And it states that Go Pro has not                     18 when they were prepared; is that correct?
                                                                    19 received an invoice for these services. You              19 A. Correct, not an exact date, yes.
                                                                    20 maintain that Go Pro has not received any sort of        20 Q. Based on your review of this Supplemental
                                                                    21 invoicing for J.H. Silcox for the report it              21 Answer Number 20, do you have an idea now of when
                                                                    22 prepared?                                                22 those two spreadsheets were prepared by Go Pro?
                                                                                                                           78                                                      80
                                                                    1      A. Yes.                                              1      A. That would be the August 27th -- no,
                                                                    2      Q.   And   you  have no  record  of paying  anything 2 that's not the August 27th.
                                                                    3 for those services; is that correct?                      3      Q. So the Supplemental Answers to
                                                                    4      A. Correct.                                          4 Interrogatories are dated -- were served on
                                                                    5      Q. When you state that, had you reviewed the         5 November 15, 2023. Supplemental Answer Number 20
                                                                    6 Capital One bank account records or the American          6 says: Plaintiff, quote, recently created a
                                                                    7  Express   statements  that confirm   no payments   have  7 takeoff/estimate, demonstrating the cost of work
                                                                    8 been issued to J.H. Silcox?                               8 and a takeoff/estimate to perform a reduced scope
                                                                    9      A. For the Latvian Embassy?                          9 of work.
                                                                    10 Q. Correct.                                              10         I'm asking, do you have a better
                                                                    11 A. Yes, we have not issued payments for him 11 recollection now, based on the review of
                                                                    12 for the Latvian Embassy, but he's issued payments 12 Supplemental Answer Number 20, which you verified
                                                                    13 for other projects.                                      13 with your signature, of when those two spreadsheets
                                                                    14 Q. Do you recall whether or not J.H. Silcox              14 were created?
                                                                    15 was paid directly by VNI?                                15     A. Yeah, so it might have been around
                                                                    16 A. Not that I'm aware of.                                16 October or so.
                                                                    17     Q.   Drawing   your  attention to Interrogatory      17     Q. And you previously stated that Raouf
                                                                    18 Number 20, it says: Identify with specificity your       18 created these spreadsheets; is that correct?
                                                                    19 original and any revised budget, bids, or estimates      19     A. Yeah, so it's -- it was someone from the
                                                                    20 for the original and any revised scope of work for       20 office,  Paul Duenas, from the office, Mr. Raouf and
                                                                    21 the project, including, but not limited to, line         21 I.
                                                                    22 item pricing,  for each scope   of work  and  the        22     Q. Is Mr. Raouf an employee of Go Pro
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                                                                                                          Transcript of Sameh Elrahimy                             21 (81 to 84)

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                                                                    1 construction?                                        1     Q. And did he have anything else related to
                                                                    2     A. I would say more of a partner.                2 the Latvian Embassy project?
                                                                    3     Q. Does Go Pro Construction prepare any sort     3     A. He wasn't aware if he had anything else.
                                                                    4 of tax documentation, as it relates to Raouf's       4     Q. But to the best of your knowledge, you're
                                                                    5 involvement with Go Pro Construction?                5 not sure whether or not he conducted a thorough
                                                                    6     A. No.                                           6 review of the documents?
                                                                    7     Q. So they don't issue like a W-2 or             7     A. Correct, I'm not sure.
                                                                    8 anything to Raouf?                                   8        MR. GILREATH: Okay. Mr. Elrahimy, I
                                                                    9     A. No. He is not a partner of papers,            9 believe that is all I have for you today. I
                                                                    10 but...                                              10 appreciate your time.
                                                                    11 Q. But he's treated --                              11       THE WITNESS: Thank you.
                                                                    12 A. And he is not --                                 12 EXAMINATION BY COUNSEL FOR THE PLAINTIFF
                                                                    13 Q. He's treated --                                  13 BY MR. BARNES:
                                                                    14 A. Yeah.                                            14 Q. If you don't mind, I just have a couple
                                                                    15 Q. -- as a partner in practice?                     15 of follow-up questions to make sure I understand,
                                                                    16 A. That's exactly what I mean, yes.                 16 or that we all understand some of your earlier
                                                                    17 Q. Does Raouf have delegation authority over        17 testimony.
                                                                    18 Go Pro's employees?                                 18       I saw a reference in some documents that
                                                                    19 A. What does delegation mean?                       19 were produced earlier, some correspondence back and
                                                                    20 Q. Does he have the power to act on behalf          20 forth about a software program called BuilderTREND.
                                                                    21 of Go Pro, in assigning hourly employees to a       21 Are you familiar with BuilderTREND?
                                                                    22 project site or instructing them to complete        22 A. Yes.
                                                                                                                     82                                                       84
                                                                    1 certain work?                                       1      Q. Is that a software program that you use
                                                                    2      A. Directly to the workers, no, but he would 2    on  your  residential construction projects?
                                                                    3 coordinate it with me, and I would set up the work. 3      A. This is Optimum Construction uses that
                                                                    4      Q. One final thing. Previously, you            4 software, we don't use it.
                                                                    5 provided, or we discussed the Optimum payroll       5      Q. Okay. Do you know whether Optimum
                                                                    6 documentation. Where did you receive the Optimum 6 Construction had a BuilderTREND file for this
                                                                    7 payroll information from?                           7 particular project, the Latvian Embassy?
                                                                    8      A. I would have to double-check with Cindy     8      A. Yes, I believe so.
                                                                    9 on that.                                            9      Q. Did you have, or do you have access to
                                                                    10 Q. You previously testified that your              10 Optimum's BuilderTREND software program for this
                                                                    11 brother owns and operates Optimum Construction     11 particular project?
                                                                    12 Incorporated,   correct?                           12 A. I don't, no.
                                                                    13 A. Yes.                                            13 Q. Okay. Did your company, at one time,
                                                                    14 Q. Is it possible that you received this           14 when the project was ongoing have access to the
                                                                    15 documentation directly from him?                   15 BuilderTREND file, or was that something that was
                                                                    16 A. From him to me or from him to Cindy?            16 uniquely maintained by Optimum Construction?
                                                                    17     Q.  Either.                                    17 A. I want to say that Mr. Raouf did have
                                                                    18 A. It's possible from him to Cindy, yes.           18 access, but I could be wrong.
                                                                    19 Q. Did you discuss with your brother whether       19 Q. Okay. But in the course of your document
                                                                    20 or not he had any additional documents relating to 20 search, you did not have access or the ability to
                                                                    21 the Latvian Embassy project?                       21 retrieve any records that would have been stored in
                                                                    22 A. Yes.                                            22 the BuilderTREND file for this particular project,
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                                                                                                            Transcript of Sameh Elrahimy                            22 (85 to 88)

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                                                                    1 if there even are any?                                 1 payroll records that have been produced, and there
                                                                    2       A. If I recall correctly, Omar had to get        2 were lists of names, lots of names of people that
                                                                    3 these documents, the payroll records from              3 were on payroll lists, TimeStation reports that you
                                                                    4 BuilderTREND.                                          4 produced in this case, and they were like Alex
                                                                    5       Q. Okay. So --                                   5 and -- or Angel and other people. And your
                                                                    6       A. Which I --                                    6 testimony was that those were people that you
                                                                    7       Q. I'm sorry, go ahead.                          7 believe were employed by Go Pro during the time
                                                                    8       A. So I do believe he did reach out to Fadi,     8 period that those records were generated?
                                                                    9 the accountant, to obtain these documents.             9      A. Yes.
                                                                    10 Q. Okay. Do you know if there are any other           10     Q. Were any of those people periodically,
                                                                    11 documents that are maintained in the BuilderTREND     11 also people who did hourly work for Optimum
                                                                    12 file for this project that Optimum might have         12 Construction as well?
                                                                    13 access to?                                            13     A. Yes. It's possible, yes.
                                                                    14 A. Maybe, but I'm not sure.                           14     Q. Okay. So some of those people might
                                                                    15 Q. Okay. And a moment ago, you were talking           15 appear as Optimum employees on Optimum records,
                                                                    16 about e-mails that you would receive. I couldn't      16 while also at the same time appearing as your
                                                                    17 understand whether you were talking about directly    17 employees on your records; is that fair to say?
                                                                    18 from Home Depot with receipts, or whether they        18     A. Most likely not. If they're on Go Pro,
                                                                    19 would come -- or whether you were talking about       19 they're working on Go Pro full-time, and they would
                                                                    20 getting e-mails from American Express.                20 just go to Optimum to help and come back, but the
                                                                    21         What were those e-mails that you would        21 record would stay on -- on Go Pro.
                                                                    22 receive that would relate to payments for materials   22     Q. And there are also occasions where,
                                                                                                                       86                                                     88
                                                                    1 being purchased by your company?                     1 similarly, people who are mostly on Optimum's
                                                                    2     A. So if anyone does a purchase at Home          2 records would occasionally go over and work on your
                                                                    3 Depot and at the checkout, they have to enter our    3 projects, and then for that period of time, they
                                                                    4 phone number and then the purchase would go under 4 would be on your records; is that fair to say?
                                                                    5 our account. If that's the case, then Home Depot     5      A. Yes.
                                                                    6 would e-mail us the receipts for that purchase.      6         MR. BARNES: Okay. All right. Those are
                                                                    7 But a lot of the times the guys would not enter the  7  all the question that I have. Thank you.
                                                                    8 phone number or not record that purchase, so we      8         Zach, if you have any follow-up on any of
                                                                    9 wouldn't get the receipt. But most of the time, if   9 that?
                                                                    10 they enter our phone number and our information, 10           MR. GILREATH: Yeah, I've got a couple
                                                                    11 then the receipts would come to us.                 11 questions.
                                                                    12        There is also the option to put a PO         12        I'm going to share my screen.
                                                                    13 number, which is the project number, but, of        13        (Go Pro Exhibit 15, previously marked for
                                                                    14 course, the guys also forget -- when I refer to the 14 identification, was retained by counsel.)
                                                                    15 guys, I'm talking about the construction worker or  15 EXAMINATION BY COUNSEL FOR THE DEFENDANT
                                                                    16 the project manager -- they would either put the    16 BY MR. GILREATH:
                                                                    17 project name, sometimes they would forget to put    17 Q. I'm showing what was previously marked as
                                                                    18 the project name, which later, we would have to sit 18 Go Pro Number 15.
                                                                    19 down and try to figure out which receipt is for     19        Mr. Elrahimy, do you see Exhibit
                                                                    20 which  project.                                     20 Number    15?
                                                                    21    Q. Okay. All right. I understand.                21 A. Yes.
                                                                    22        So then -- and then with regard to these     22 Q. And you previously testified this is a
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                                                                                                            Transcript of Sameh Elrahimy                              23 (89 to 92)

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                                                                    1 work progress report issued by Go Pro to VNI for       1 Embassy project?
                                                                    2 the Latvian Embassy project?                           2      A. I don't believe we still have access to
                                                                    3      A. Yes.                                           3 the BuilderTREND, unless it's -- we request a
                                                                    4      Q. Okay. Turning your attention to Items 2        4 specific document, but I don't believe Omar still
                                                                    5 and 3. Item 2 states that the owner authorized         5 has access to BuilderTREND.
                                                                    6 person is asked to confirm their e-mail address        6      Q. When you say, you don't believe, is that
                                                                    7 that will be representing the owners to Go Pro; is     7 an assumption you're making or did you attempt to
                                                                    8 that correct?                                          8 confirm whether or not you have access?
                                                                    9         MR. BARNES: Part of it's obscured on           9         I'll restate that.
                                                                    10 mine by the pictures of everybody's faces.            10        Did you attempt to contact BuilderTREND,
                                                                    11 A. Per our Contract, the Owner authorized             11 or request   that your father attempt to access the
                                                                    12 person is Mr. Rihards, and his e-mail address was     12 BuilderTREND system for the Latvian Embassy
                                                                    13 the official e-mail for his correspondence. Please    13 project, when conducting this additional search,
                                                                    14 update the name and e-mail address of the official    14 following the August 21st order?
                                                                    15 officer who will be representing the owners.          15 A. I didn't, no.
                                                                    16        Okay. Yes.                                     16 Q. Do you know if Cindy Conley did?
                                                                    17 Q. And then you see, Bullet Number 3 says:            17 A. I don't believe she did.
                                                                    18 Once the confirmation of the official officer is      18 Q. Just one final follow-up question.
                                                                    19 received through DocuSign, we will then prepare for   19        The complaint in this matter was filed by
                                                                    20 additional access to the BuilderTREND system, per     20 Go Pro on June 8th, 2022. Did Go Pro take any
                                                                    21 your request.                                         21 steps at that time, following the complaint, to
                                                                    22        You see that?                                  22 ensure that documents relating to the Latvian
                                                                                                                       90                                                        92
                                                                    1      A. Yes.                                           1 Embassy project were properly preserved for this
                                                                    2      Q. Am I correct in inferring from this that       2 litigation?
                                                                    3 at the time of this Work Progress Report Number 4,     3      A. Sorry, say that again.
                                                                    4 Go Pro had access to the BuilderTREND system for       4      Q. I said the complaint filed by Go Pro
                                                                    5 the Latvian Embassy project?                           5 against VNI was filed on June 8th, 2022. Were any
                                                                    6      A. Yeah, I'm not sure. I'm not sure. I            6 actions taken by Go Pro at that time to ensure the
                                                                    7 didn't have access to that, to BuilderTREND.           7 preservation of documents relating to Latvian
                                                                    8      Q. Did your father have access to the             8 Embassy case?
                                                                    9 BuilderTREND system at this time?                      9      A. Not that I'm aware of.
                                                                    10 A. Yes, I believe so.                                 10 Q. So other than your typical ordinary
                                                                    11 Q. You previously stated your father was              11 business practices of maintaining things on the
                                                                    12 operating as a partner for Go Pro, correct?           12 Google Drive and sending e-mails, there were no
                                                                    13 A. Yes.                                               13 steps taken by Go Pro to ensure that certain things
                                                                    14 Q. Do you have any idea when your father              14 were protected, not deleted, maintained for this
                                                                    15 lost access to BuilderTREND or does he still have     15 litigation?
                                                                    16 access to the BuilderTREND system for the Latvian     16 A. Yeah, not that I recall, anything
                                                                    17 Embassy project?                                      17 special.
                                                                    18 A. No, I don't -- I don't know when he                18        MR. GILREATH: Okay. That is all I have.
                                                                    19 accessed BuilderTREND last.                           19 Thank you.
                                                                    20 Q. But as far as your review, you have not            20        MR. BARNES: I have just one follow-up on
                                                                    21 looked to see whether or not your father still has    21 that.
                                                                    22 access to BuilderTREND as it relates to the Latvian   22 EXAMINATION BY COUNSEL FOR THE PLAINTIFF
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                                                                    1 BY MR. BARNES:
                                                                    2     Q. Mr. Elrahimy, did Go Pro destroy any
                                                                    3 projects-related documents since filing the
                                                                    4 complaint on June 8th, 2022, related to the Latvian
                                                                    5 Embassy project?
                                                                    6     A. No.
                                                                    7        MR. BARNES: Okay. I have no other
                                                                    8 questions.
                                                                    9        Stephanie, I gave you my e-mail address
                                                                    10 already. Would you just send me a Min-U-Script
                                                                    11 electronically only for this one.
                                                                    12       THE COURT REPORTER: Yes.
                                                                    13       MR. GILREATH: Are you going to read and
                                                                    14 sign or are you good?
                                                                    15       MR. BARNES: I don't need to read and
                                                                    16 sign.
                                                                    17       (Off the record at 4:26 p.m. EST)
                                                                    18
                                                                    19
                                                                    20
                                                                    21
                                                                    22
                                                                                                                          94
                                                                    1 CERTIFICATE OF SHORTHAND REPORTER - NOTARY PUBLIC
                                                                    2          I, STEPHANIE L. HUMMON, Registered
                                                                    3 Professional Reporter and Notary Public, the
                                                                    4 officer before whom the foregoing deposition was
                                                                    5 taken, do hereby certify that the foregoing
                                                                    6 transcript is a true and correct record of the
                                                                    7 proceedings; that said testimony was taken by me
                                                                    8 stenographically and thereafter reduced to
                                                                    9 typewriting under my supervision; and that I am
                                                                    10 neither counsel for or related to, nor employed by
                                                                    11 any of the parties to this case and have no
                                                                    12 interest, financial or otherwise, in its outcome.
                                                                    13         IN WITNESS WHEREOF, I have hereunto set
                                                                    14 my hand and affixed my notarial seal this 29th day
                                                                    15 of January, 2024.
                                                                    16 My commission expires July 6, 2027.
                                                                    17
                                                                    18
                                                                    19
                                                                    20 _________________________
                                                                    21 NOTARY PUBLIC IN AND FOR
                                                                    22 THE STATE OF MARYLAND




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